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                              UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF FLORIDA

                                       TAMPA DIVISION

THOMAS E. PEREZ, Secretary of Labor,
United States Department of Labor,

                              Plaintiff,

v.                                                          Case No. 8:14-cv-00066-VMC-TGW

GEOPHARMA, INC.; MIHIR K. TANEJA,
an individual; CAROL DORE-FALCONE, an
individual; SUSAN BONGIOVANNI, an
Individual; and the GEOPHARMA, INC. GROUP
HEALTH PLAN;

                        Defendants.
___________________________________________/

       NOTICE OF APPEARANCE OF BRIAN P. BATAGLIA, P.A. and BRIAN P.
     BATAGLIA, ESQ. AS COUNSEL OF RECORD FOR SUSAN BONGIOVANNI, AN
                               INDIVIDUAL

Brian P. Battaglia, P.A. and Brian P. Battaglia, Esq. give their Notice of Appearance as counsel
of record for Susan Bongiovannni, an individual, in the above styled cause and requests that
copies of all future pleadings, notices, and correspondence be directed to the attention of Brian P.
Battaglia, P.A. and Brian P. Battaglia, Esq. as Lead Attorney to be Noticed for Susan
Bongiovanni, an individual.
                                                         Respectfully submitted on this 16th Day
                                                         of January 2016.
                                                         By: s/ Brian P. Battaglia
                                                         BRIAN P. BATTAGLIA, ESQ.
                                                         Florida Bar No.: 0557978
                                                         SPN: 662729
                                                         BRIAN P. BATTAGLIA, P.A.
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                                                          Lead Attorney To Be Noticed


                                 CERTIFICATE OF SERVICE

   I hereby certify that on January 16, 2015, that I, the above referenced attorney, electronically
filed the foregoing with the Clerk of the Court by using the CM/ECF system which will send a
notice of electronic filing to the following:


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